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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                               )
 UNITED STATES OF AMERICA,                     )
                                               )       Criminal No. 1:21-mj-00188-ZMF
                       v.                      )
                                               )
 RYAN SAMSELL,                                 )
                                               )
                 Defendant.                    )
                                               )


                                  ENTRY OF APPEARANCE


       THE CLERK OF THE COURT will kindly note the Entry of Appearance of Julia Z.

Haller, of the Law Offices of Julia Haller, as co-counsel for Defendant, Ryan Samsell, with

Stanley Woodward who will remain counsel in the above-captioned case. I certify that I am

admitted to practice before this Court.

                                            RYAN SAMSELL

                                            Respectfully Submitted,



                                            ___/s/ _____________________________
                                            Julia Z. Haller, DC #466921
                                            The Law Offices of Julia Haller
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  Case 1:21-mj-00188-ZMF Document 43 Filed 08/12/21 Page 2 of 2




                        CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of this Entry of Appearance was served
on this 12th day of August 2021, via Electronic Case Filing notification to all
counsel, including upon the Assistant United States Attorneys, April N. Russo and
Danielle Rosborough, United States Attorney’s Office, 555 4th St., NW,
Washington, DC 20530:

                                     ___/s/ __________________________
                                     Julia Z. Haller




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